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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

WAYNE WHALEN,                                   )
                                                )
        Plaintiff,                              )
                                                )
vs.                                             )   Case No. 20-cv-00797-JPG
                                                )
NORTHERN FREIGHT, LLC,                          )
AHMED SANKUS, and                               )
SAFARA EXPRESS, LIMITED                         )
LIABILITY COMPANY,                              )
                                                )
        Defendants.                             )


                               MEMORANDUM AND ORDER

        This matter is before the Court on Defendant Safara Express’ Motion to Open Default

(Doc. 63).

        Finding that good cause exists under Federal Rule of Civil Procedure 55(c), the Court

hereby GRANTS Defendant Safara Express’ Motion to Open Default (Doc. 63). The Court

hereby SETS ASIDE Entry of Default as to Defendant Safara Express (Doc. 55). The Court

ORDERS Defendant Safara Express file a responsive pleading in this matter by December 10,

2021.

IT IS SO ORDERED.
Dated: 11/10/2021
                                                    /s/ J. Phil Gilbert
                                                    J. PHIL GILBERT
                                                    DISTRICT JUDGE
